                 Case 1:21-mj-30080-DUTY ECF No. 1, PageID.1
                                              AUSA:             Filed 02/18/21 Telephone:
                                                      Roy R. Kranz               Page 1 of   3 895-5712
                                                                                          (989)
AO 91 (Rev. ) Criminal Complaint                Agent:                    Nick Diedrich, BIA            Telephone: (989) 775-4700

                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                     Eastern District of Michigan

United States of America
   v.
Austin Keezhig Floyd                                                            Case No.
                                                                                              1:21-mj-30080
                                                                                              Judge: Unassigned,
                                                                                              Filed: 02-18-2021 At 12:52 PM
                                                                                              CMP USA v. Austin Keezhig Floyd (krc)




                                                       CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of                          2/18/21                    in the county of             Isabella         in the
       Eastern            District of        Michigan           , the defendant(s) violated:
                  Code Section                                                  Offense Description
18 U.S.C. § 1151                                            Defendant, an Indian, within Indian country, assaulted, that is, intentionally
18 U.S.C. § 1153                                            wounded Z.M. with a dangerous weapon with the intent to do bodily harm.
18 U.S.C. § 113(a)(3)




         This criminal complaint is based on these facts:
See attached affidavit.




✔ Continued on the attached sheet.

                                                                                                 Complainant’s signature

                                                                            Nick Diedrich, BIA
                                                                                                  Printed name and title

Sworn to before me and signed in my presence, and/or by reliable electronic means.


Date: 2/18/2021                                                                                     Judge’s signature

City and state: Bay City, Michigan                                          Patricia Morris, United States Magistrate Judge
                                                                                                  Printed name and title
       Case 1:21-mj-30080-DUTY ECF No. 1, PageID.2 Filed 02/18/21 Page 2 of 3




           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                    FOR AUSTIN KEEZHIG FLOYD

I, Nick Diedrich, being duly sworn, depose and state:

   1. I am an officer with the Bureau of Indian Affairs and have been a law

      enforcement officer for approximately 12 years. During my career I have been

      involved in numerous investigations concerning assaults. The following is

      based on a statement from witnesses and statements from other law

      enforcement officers and individuals.

   2. The information included in this affidavit is provided for the limited purpose of

      establishing probable cause that Austin Keezhig Floyd committed the offenses

      of Assault with a Dangerous Weapon on or about February 18, 2021, in

      violation of 18 U.S.C. §113(a)(3) and therefore it does not contain all of the

      facts known to me. Additionally, unless otherwise noted, wherever in this

      affidavit I assert that an individual made a statement, that statement is described

      in substance herein and is not intended to be a verbatim recitation of such

      statement.

   3. On or about February 18, 2021, Austin Floyd, an Indian, assaulted his cousin,

      Z.M. on the Isabella Reservation in Indian country. During that assault, Floyd

      intentionally stabbed the victim with a large a knife. This injury required

      immediate medical treatment.


                                                                                        1
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   4. Based on the above-described information, there is probable cause to believe

      that on or about February 18, 2021, Austin Floyd committed an assault with a

      dangerous weapon, in violation of 18 U.S.C. § 113(a)(3).




                                                   __________________________
                                                   Nick Diedrich
                                                   BIA

Sworn to before me and signed in my presence
and/or by reliable electronic means this 18th day of February 2021.


_____________________________
HON. PATRICIA MORRIS
United States Magistrate Judge




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